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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                    Plaintiff,
             v.
                                                      Case No. 21-MJ-290 (GMH)
MARC ANTHONY BRU,

                    Defendant.


                                       NOTICE

      On April 28, 2021, this Court issued an Order directing the defense to state

its position on the government’s motion for a protective order. After further review

of the motion, the defense does not object to the protective order at this time. The

defense, however, reserves the right to object at a later point.



                                        Respectfully submitted,

                                        A. J. Kramer
                                        Federal Public Defender

                                        ________________________
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                                        Assistant Federal Public Defender
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